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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA
                                    CENTRAL DIVISION


 AKRUM WADLEY; JONATHAN                                    Case No. 4:20-cv-00366
 PARKER; MARCEL JOLY; AARON
 MENDS; DARIAN COOPER; BRANDON
 SIMON; and JAVON FOY,
                                                       DEFENDANT BRIAN FERENTZ’S
    Plaintiffs,                                            MOTION FOR LEAVE
                                                           TO FILE UNDER SEAL
    vs.

 UNIVERSITY OF IOWA, BOARD OF
 REGENTS FOR THE STATE OF IOWA;
 BRIAN FERENTZ; and CHRISTOPHER
 DOYLE,

    Defendants.

       Defendant Brian Ferentz (“B. Ferentz”) moves to file his Brief, Statement of

Undisputed Facts, and Appendix in Support of Brian Ferentz’s Motion for Summary

Judgment Regarding Section 1981 Claims under seal pursuant to Local Rule 5(c). In

support of his motion, B. Ferentz states as follows:

       1.         B. Ferentz intends to file a Motion for Summary Judgment Regarding Section

1981 Claims and a Brief, Statement of Undisputed Facts, and Appendix in Support of Brian

Ferentz’s Motion for Summary Judgment Regarding Section 1981 Claims.

       2.         The Brief, Statement of Undisputed Facts, and Appendix in Support of Brian

Ferentz’s Motion for Summary Judgment Regarding Section 1981 Claims contain and

reference certain medical information and records that are Confidential pursuant to Local

Rule 10(g) regarding Personal Data Identifiers. Additional documents that have been

designated as “confidential” must be filed under seal pursuant to the Court’s protective

order (Dkt. 61).

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       3.     Accordingly, B. Ferentz seeks permission from this Court to e-file his Motion

for Summary Judgment attaching a redacted version of the Brief, Statement of Undisputed

Facts, and Appendix redacting the Confidential medical information and records and other

documents designated as “confidential”, and seeks leave to file the unredacted Brief,

Statement of Undisputed Facts, and Appendix under seal.

       4.     Pursuant to Local Rule 7(k), B. Ferentz’s counsel contacted counsel for

Plaintiffs to request their consent to this motion on August 11, 2022, and again on August

16 at 11:48 a.m. Counsel for Plaintiffs have not responded to this request.

       WHEREFORE, the Defendant Brian Ferentz requests the Court for an order

granting him leave to (1) file his Motion for Summary Judgment Regarding Section 1981

Claims with a redacted version of his Brief, Statement of Undisputed Facts, and Appendix

in support; and (2) file his unredacted Brief, Statement of Undisputed Facts, and Appendix

in Support of Brian Ferentz’s Motion for Summary Judgment Regarding Section 1981

Claims under seal.



Dated: August 16, 2022                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

    I hereby certify that on August 16, 2022, I filed the foregoing with the Clerk of Court by
using the ECF system which will send notification of such filing to the following:

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